8:07-cr-00417-JFB-FG3        Doc # 163   Filed: 10/28/14   Page 1 of 3 - Page ID # 396




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                    Plaintiff,                                8:07CR417

       vs.
                                                                ORDER
RICKY GENE JACKSON,

                    Defendants.


       This matter is before the court on correspondence from defendant Ricky Gene

Jackson, which the court construes as a motion for sentence adjustment. Filing No.

162.

       The record shows defendant Jackson is presently in state custody. See Federal

Bureau of Prisons (“BOP”) website, http://www.bop.gov/inmateloc/ (last visited October

17, 2014). His correspondence was mailed from a facility operated by the Nebraska

Department of Corrections. Filing No. 162 at ECF p.2.        He asks the court to lift a

detainer placed on him for the federal violation to enable him to participate in programs

such as work-release.

       In this court, Jackson was sentenced on May 9, 2008, to seventy months'

incarceration, followed by 5 years of supervised release for conspiracy to distribute and

possess with intent to distribute more than 5 grams of cocaine base. Filing No. 61. His

sentence was later reduced to 60 months under the 2011 Guidelines crack cocaine

amendment, on the stipulation of the parties. Filing No. 84. His period of supervised

release commenced on February 8, 2012. Filing No. 86. Thereafter, a petition for

offender under supervision was filed, charging Jackson with violating a condition of
8:07-cr-00417-JFB-FG3       Doc # 163    Filed: 10/28/14   Page 2 of 3 - Page ID # 397




supervised release by committing a burglary. Filing No. 91. An amended petition was

later filed, alleging that he had also violated the condition of supervised release that

provides that he not associate with criminals. Filing No. 98. A hearing was held on

April 18, 2013, and the defendant admitted to the burglary allegation. Filing No. 122.

He was sentenced to time served. Filing No. 123.

      On December 31, 2013, another petition for offender under supervision was filed,

again alleging that Jackson had violated the mandatory condition of supervised release

that states "the defendant shall not commit another federal, state, or local crime" by

committing a burglary. Filing No. 131. Jackson admitted the allegation. Filing No. 159.

He was adjudicated guilty of the violation and was sentenced on July 24, 2014, to a

term of imprisonment of twelve months for a violation of supervised release, to run

concurrent to his state sentence. Filing No. 160.

      The record shows he was arrested on the federal petition on July 24, 2014, and

the warrant was presumably lodged as a detainer with the Nebraska Department of

Corrections. Filing No. 161. The BOP website shows a projected release date of July

23, 2015, which corresponds to the sentence for the supervised release violation. See

Federal Bureau of Prisons website, http://www.bop.gov/inmateloc/ (last visited October

17, 2014).

       A district court may only modify a term of imprisonment in limited circumstances.

18 U.S.C. § 3582(c). United States v. Cannon, 719 F.3d 889, 891 (8th Cir. 2013). The

authority for calculating sentence credit is vested in the Attorney General, through the

Bureau of Prisons, not in the district court, and judicial review is available only after

exhaustion of administrative remedies. See United States v. Wilson, 503 U.S. 329,

                                           2
8:07-cr-00417-JFB-FG3          Doc # 163      Filed: 10/28/14      Page 3 of 3 - Page ID # 398




(1992) (“After a district court sentences a federal offender, the Attorney General,

through the BOP, has the responsibility for administering the sentence.”); United States

v. Hayes, 535 F.3d 907, 910 (8th Cir. 2008).

       The court finds there is no authority to support the remedy the defendant seeks.

The Court finds that the deprivation of which Jackson complains—his preclusion from

participating in prison rehabilitative or work-release programs—is a deprivation imposed

by the state having custody over him, and not by any federal authority. Cf. Caruso v.

United States Bd. of Parole, 570 F.2d 1150, 1155 (3d Cir.1978) (stating that “whatever

the basis for [petitioner's] charges (and we express no view as to their validity), the

appropriate targets for [his] attack are state prison officials . . . ”).

       Although Jackson's achievements in prison may be laudable, successful

adjustment to prison and completion of prison programs does not entitle him to a

reduction in his sentence. He has received the benefit of a concurrent sentence. There

is no indication that federal officials will not properly credit him for the time he has spent

in state custody. Accordingly,

       IT IS ORDERED that defendant Jackson's motion for an adjustment of his

sentence (Filing No. 162) is denied.

       DATED this 28th day of October, 2014.

                                                     BY THE COURT:
                                                     s/ Joseph F. Bataillon
                                                     Senior United States District Judge




                                                 3
